Case 2:10-md-02179-CJB-DPC Document 11876-4 Filed 11/20/13 Page 1 of 3




                    Exhibit C
           Case 2:10-md-02179-CJB-DPC Document 11876-4 Filed 11/20/13 Page 2 of 3


Godfrey, Richard C.

From:                    Godfrey, Richard C.
Sent:                    Friday, December 14, 2012 3:44PM
To:                      James Roy; 'Calvin Fayard'; <cfayard@gmail.com>
Cc:                      Brian Barr; SHERMAN@hhklawfirm.com; Andrew_Karron@aporter.com; Bloom, Wendy L.;
                         jeffrey.len nard@snrdenton. com
Subject:                 RE: BP-- SUPP NOTICE TV ADS PAT SHOT


Friends: what about one of these two alternatives? Rick



If you had a loss as a result of the Spill, you may qualify under the Settlement.

           If you were damaged as a result of the Spill, you may qualify under the Settlement




Richard C. Godfrey, P. C.
Kirkland & Ellis LLP
300 North La Salle
Chicago, IL 60654
312-862-2391 DIRECT _I 312-862-2200 FAX
rgodfrey@kirkland. com



From: James Roy [mailto:JIMR@wrightroy.com]
Sent: Friday, December 14, 2012 1:48PM
To: 'Calvin Fayard'; <cfayard@gmail.com>
Cc: Brian Barr; SHERMAN@hhklawfirm.com; Godfrey, Richard C.; Andrew Karron@aporter.com;
Bloom, Wendy L.; jeffrey.lennard@snrdenton.com
Subject: RE: BP-- SUPP NOTICE TV ADS PAT SHOT



thanks



From: Calvin Fayard [mailto:Calvin@fayardlaw.com]
Sent: Friday, December 14, 2012 7:44AM
To: <cfayard@gmail.com>
Cc: Brian Barr; James Roy; SHERMAN@hhklawfirm.com; richard.godfrey@kirkland.com;
Andrew Karron@aporter.com; wendy. bloom@ kirkland. com; jeffrey.lennard@snrdenton. com
Subject: Re: BP-- SUPP NOTICE TV ADS PAT SHOT
                                                    1
           Case 2:10-md-02179-CJB-DPC Document 11876-4 Filed 11/20/13 Page 3 of 3




Thank you for sorting this out.

Confidential

Calvin C. Fayard, Jr.

Attorney

(225) 664-4193


On Dec 13, 2012, at 3:40 PM, "cfayard@gmail.com" <cfayard@gmail.com> wrote:

   Hopefully everyone now has the rough cut of Mr. Juneau's ad plus the transcript of what he says,
   and then also the draft tv scripts (nothing filmed) entitled "Freeze Frame" and "Answers." To
   answer Wendy and Rick's questions on length, all of the TV spots were timed to run 30 seconds.
   Per our experts this usually means no more than 28.5 seconds of audio. However the Juneau ad
   is fully timed at 30 seconds of audio.

   A draft radio script was attached to the end of the "Freeze frame/Answers" script submitted to the
   Court, and this ad is segmented by region. It is slotted at 60 seconds/58.5 seconds of voiceover
   sound. To date the only ad that has been filmed is the one with Mr. Juneau, and that was done on
   an expedited basis in order to accommodate Mr. Juneau's schedule.

   Please let me know if anyone needs anything else.

   Thanks,
   Caroline


   Confidential
   Caroline Fayard
   Attorney at Law
   504 810 1130



   From: "Brian Barr" <BBarr@levinlaw.com>

   Date: Thu, 13 Dec 2012 14:20:52-0600

To: Jim Roy<jimr@wrightroy.com>; <SHERMAN@hhklawfirm.com>; <cfayard@gmail.com>;
<Calvin@fayardlaw.com>; <




                                                  2
